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UNITED STATES D|STR|CT COURT

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uNlTED sTATEs oF AMERch mo ,n;
-v- 01 -201 12-01-Ma CLE' R%%§ R_STL§MW

MARCHELLO J|MMY LOVERSON
Ftando|ph W. A|denl FPD
Defense Attorney
200 Jefferson Avenue, Suite 200
Memphis, Tennessee 38103

 

AMENDED* JUDGMENT IN A CR|M|NAL CASE

AF|'ER RE-SENTENC|NG
(For Offenses Commltted On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 and 2 of the |ndictment on April 14, 2003, and the
defendant was found guilty on Counts 3 and 4 of the indictment on Apri| 15, 2003. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Tttle & section Nature of ffen e M Number(st
18 U.S.C. § 2119 Car jacking; 03/02/2001 1 and 3
18 U.S.C. § 2 aiding and abetting
18 U.S.C. § 924(0) Use and possession of a firearm 03/02/2001 2 and 4

during a crime of violence

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the Mandatory
Victims Fiestitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX *Date of Re-|mposition of Sentence:
Defendant’s Date of Birth: 11/01/1981 . August 24, 2005
Deft’s U.S. N|arsha| No.: 17936-076

Defendant’s Residence Address:

1483 Standridge C
Nlemphis, TN 38127

SAN|UEL H. MAYS, JR.
UN|TED STATES DISTFi|CT JUDGE

"L
Thfs doct.ment entered on the docket s et |n compliance August__""_’ 2005
with ante 55 and/or sam FnorP on _EM

 

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Defendant Name: Marche||o Jimmy Loverson Page 2 of 5

lMPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of one hundred twenty-one (121) months as to Counts
1 and 3; one hundred twenty (120) months as to Count 2, to run consecutive to the
sentence imposed on Counts 1 and 3; and three hundred (300) months as to Count 4, to
run consecutive to the sentence imposed on Counts 1, 2 and 3. Tota| term of
imprisonment is five hundred forty-one (541) months.
The Court recommends to the Bureau of Prisons:

That defendant be designated to serve his term of imprisonment at a facility closest
to his home in Memphis, Tennessee.

The defendant is remanded to the custody of the United States N|arsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MAFiSHAL
By:

 

Deputy U.S. |Vlarsha|

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Case No: 01-20112-01~Ma
Defendant Name: Marche||o Jimmy Loverson Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of three (3) years on each count, to run concurrently

The defendant shall report to the probation office in the district to which the defendant
is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and at
least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions cf the
probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ton (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as directed
by the probation officer to determine the use of any controlled substanoe;

7. The defendant shall not frequent places where controlled substances are illegally sold, used, distributedl
or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shail not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
enforcement officer;

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Defendant Name: Marchello Jimmy Loverson Page 4 of 5

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit the
probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement.

13. |f this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that
the defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
the Crimina| Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

*1. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C.
§ 3612(f). All of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g)

Tota| Assessment Tgta| Fine Tg_tgl Re§titutign
$400.00 $823.00

The Specia| Assessment shall be due immediate|y.

FlNE

No fine imposed.

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Defendant Name: Marche|lo Jimmy Loverson Page 5 of 5

FlESTlTUT|ON

Fiestitution in the amount of $823.00 is hereby ordered The defendant shall make .
restitution to the following victims in the amounts listed below.

Priority Order
Total Amount Amount of or Percentage
Name of pad£ee of Loss Re§titgtion Ordered of Payment

Sandra Jones $823.00 $823.00

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Fieasons page.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 148 in
case 2:0]-CR-201 12 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

